Filed 04/22/15                                     Case 09-31872                                                  Doc 101
        1



            Geoffrey Richards, Trustee
            Bankruptcy Trustee
            Chapter 7 Bankruptcy Trustee
    2
            P0 Box 579
    3       Orinda, CA 94563
            (916) 288-8365
    4

                                             UNITED STATES BANKRUPTCY COURT
    5
                                              EASTERN DISTRICT OF CALIFORNIA
    6
            In re:                                             Case No. 09-31872-C-7
    7


    8       LINDA     L.   BEDROSIAN-WHEELER                   Chapter 7

    9                                                          NOTICE OF UNCLAIMED DIVIDENDS
            Debtor(s
   10
            TO THE CLERK, UNITED STATES BANKRUPTCY COURT:
   11

            Please find attached hereto check number 3017 in the amount of $429.59 representing the total
   12

            amount of unclaimed dividends in the above-captioned estate, which will create a zero balance in
   13
            the bank account. Said sum is paid over to you pursuant to Bankruptcy Rule 3011. The name(s)
   14
            and address(es) of the cllaimants entitled to said unclaimed dividends are as follows:
   15
            Claim #             Name & Address of Claimant             Claim Amount          Dividend Amount
   16            #10       Bank of America                          $11,236.23               $429.59
                           4161 Piedmont Parkway                    including interest.      Amount returned
   17                      Greensboro, NC 27410                     Case is a surplus        by Bank of
                                                                    case. Claim              America by
   18
                                                                    originaly paid in full   Cashiers Check
   19                                                               by check 3013.           stating claim
                                                                                             overpaid. Case is
                                                                                             surplus case
   20

                                                                                             where debtors
   21
                                                                                             surplus funds were
   22
                                                                                             turned over to the
                                                                                             court. Docket
   23                                                                                        #100
                                                                                                         429.59
   24
            Dated: April 17, 2015
   25
                                                      GEOFF                     nkruptcy Trustee

   26
